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                          UNITED STATES DISTRICT COURT FOR THE
                              EASTERN DISTRICT OF VIRGINIA
                                                                                       NOV “ 6 2024
                                         Norfolk Division                                                      i


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   UNITED STATES OF AMERICA


               V.                                   CaseNo. 2:24-MJ-


   DARRYL DEAN GODFREY


                                 AFFIDAVIT IN SUPPORT OF
                    CRIMINAL COMPLAINT AND ARREST WARI^ANT


          I. Tony T. Bradley, being first duly sworn, hereby depose and state as follows:

                          INTRODUCTION AND AGENT BACKGROUND


                    I am a Special Agent (“SA”) with the U.S. Department of Veterans Affairs

  (“VA”), Office of Inspector General C‘VA-OIG”), and I have been so employed since June

  2023.   Prior to employment with VA-OIG, 1 was employed as an Industry Operations

  Investigator with the Bureau of Alcohol, Tobacco, Firearms and Explosives (“ATF”), from

  September 2015 to June 2023. 1 am a graduate of the Federal Law Enforcement Training

  Center’s Criminal Investigator Training Program and the Industry Operations Investigator

  Basic Training, both of which were held in Glynco, Georgia. 1 have also received additional

  training and experience in criminal investigations as a Military Police Officer in the United

  States Air Force. I have a bachelor’s and a master’s degree in criminal justice.

          2.        1 am currently assigned to the VA-OIG Mid-Atlantic Field Office,

  Washington, District of Columbia. As such, part of my duties includes investigating crimes

  committed against programs and operations of the VA by employees and non-employees, as

  well as allegations of serious violations of policies and procedures by high-ranking members

  at the VA. These duties also include investigating matters related to persons who knowingly


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  and willingly commit criminal acts against the United States. As a law enforcement officer

  engaged in enforcing criminal laws, 1 am authorized to execute arrest warrants issued under

  the authority of the United States.

          3.      'fhe facts in this affidavit come from my personal observations, my training

  and experience, and information obtained from other agents, witnesses, and agencies, as well

  as a review of records provided during this investigation. This affidavit is intended to show

  merely that there is sufficient probable cause for the requested criminal complaint and does

  not set forth all of my knowledge about this matter.

          4.      I submit this affidavit in support of a criminal complaint and arrest warrant

  charging DARRYL DEAN GODFREY (“GODFREY”) with bank fraud and attempted

  bank fraud, in violation of 18 U.S.C. §§ 1344(1)& 1344(2). Specifically, on or about

  September 8, 2023, GODFREY deposited into his checking account at a federally insured

  financial institution an altered U.S. Treasury check in the amount of $41,927.70, which

  falsely indicated that he was the authorized payee. From on or about September 12, 2023,

  until on or about September 27, 2023, approximately $39,000 was withdrawn from

  GODFREY’S bank account for which he was sole account holder. Therefore, there is


  probable cause to believe that GODFREY knowingly executed, or attempted to execute, a

  scheme or artifice to defraud a federally insured financial institution or to obtain any of the

  moneys, funds, credits, assets, securities, or other property owned by, or under the custody

  of, a federally insured financial institution by false or fraudulent pretenses, representations,

  or promises with the intent to defraud.




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                         STATUTORY AUTHORITIES AND DEFINITIONS


         5.      At all limes relevant to this investigation, VIC'I'IM BANK 1 was a financial

  institution, which was federally insured by the National Credit Union Administration

  within the meaning of 18 U.S.C. § 20.

                                    PROBABLE CAUSE


         6.      In October 2023, VA-OIG and VA Police Services opened an investigation

  into an altered/fictitious U.S. Treasury check that was deposited at VICTIM BANK 1 by an

  individual identified as GODFREY, a United States Army veteran. VICTIM BANK I is

  located in Hampton, Virginia, within the Eastern District of Virginia.

         7.      On or about September 8, 2023, GODFREY entered VICTIM BANK I to

  deposit a U.S. Treasury check in the amount of $41,927.70. This check was made payable

  to GODFREY.      A bank teller at VICTIM BANK I          verified   GODFREY’S identity by

  reviewing his driver’s license and deposited the check into his personal checking account.

  The entire amount deposited was not available immediately. Starting the next business day,

  approximately $225 was available in GODFREY’S account; approximately $5,300 was

  available in his account on the second business day after the check was deposited; and

  approximately $36,402.70 was available in his account on the seventh business day after the

  check was deposited.

         8.      Later in the afternoon on September 8, 2023, a bank manager at VICTIM

  BANK 1 deposited the check at BANK 2, located in Hampton Virginia, which was VICTIM

  BANK 1 ’s daily deposit bank.

         9.      On or about September 27, 2023, VICTIM BANK 1 received in the mail a

  notice and a copy of the original check that was stamped “ALTERED/FICTICIOUS” from


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  BANK 2.        The notice from BANK 2 stated that the check was returned because it was an


  ”[a]ltered/[f]ictitious [ijtem.”

           10.      After learning that the check deposited by GODFREY was altered or

  fictitious, the bank manager at VICTIM BANK 1 (“VICTIM BANK 1 manager”) withdrew

  the remaining balance of $2,807.64 from GODFREY’S checking account and applied it

  towards the amount that GODFREY owed VICTIM BANK 1.


                    Later that day, the VICTIM BANK 1 manager called GODFREY to inform

  him about the returned check.        GODFREY staled that he received the check “from the


  pandemic.” VICTIM BANK 1 manager advised GODFREY to come to VICTIM BANK 1

  the following day. GODFREY never returned to VICTIM BANK 1.

          12.       On or about October 15, 2023, the VICTIM BANK 1 manager mailed a letter

  to GODFREY’S residence, located in Norfolk, VA (the “Norfolk residence), informing

  GODFREY that the check he had deposited on or about September 8, 2023, was returned as

  altered/fictitious.    The   letter also   slated   that   GODFREY   owed   VICTIM   BANK   1


  approximately $39,150.06, after it had applied the amount in his checking account toward

  the amount he owed and a fee for the returned check.         VICTIM BANK 1 never received a


  response from GODFREY.

          13.       On or about November 29, 2023, I reviewed a transaction history report

  documenting the financial transactions in GODFREY’S checking account, which was

  provided by VICTIM BANK 1. According to that report, after GODFREY deposited the

  check in the amount of $41,927.70 on or about September 8, 2023, the following

  withdrawals, which do not include ATM fees, were made from GODFREY’S account on or

  about the dates set forth below:




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                 ●   September 12,2023: $2,000 from VICTIM BANK I.

                 ●   September 14, 2023: $3,500 from another credit union, located in

                     Chesapeake, Virginia.

                 ●   September 20, 2023: $5,000 from the same credit union, located in

                     Chesapeake, Virginia.

                 ●   September 21, 2023: $502 from the same credit union, located in

                     Chesapeake, Virginia.

                 ●   September 21,2023: $25,000 from the same credit union, located in

                     Chesapeake, Virginia.

                 ●   September 22, 2023: $102 from the same credit union, located in

                     Chesapeake, Virginia.

                 ●   September 22, 2023: $402 from the same credit union, located in

                     Chesapeake, Virginia.

                 ●   September 23, 2023:         $500 from another credit union, located in

                     Virginia Beach, Virginia.

                 ●   September 24, 2023: $500 from the same credit union, located in

                     Virginia Beach, Virginia.

                 ●   September 25, 2023: $500 from the same credit union, located in

                     Virginia Beach, Virginia.

                 ●   September 26, 2023: $500 from the same credit union, located in

                     Virginia Beach, Virginia.

                 ●   September 27, 2023: $500 from the same credit union, located in

                     Virginia Beach, Virginia.


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          14.     GODFREY was the sole account holder of the checking account from which

   the above amounts were withdrawn.

          15.     On or about December 21, 2023, VA-OIG agents contacted the U.S.

   Department of Treasury, Bureau of Fiscal Service, and verified that a check with the same:

   (1) issue date, (2) check symbol, (3) check serial number, and (4) dollar amount was issued

   by the U.S. Department of Treasury: however, the check was made payable to a Limited

   Liability Corporation located in San Diego, California, with no apparent connection to

   GODFREY.




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                                           CONCLUSION


           16.     Based on the foregoing, there is probable cause to believe that, on or about

   September 8, 2023, DARRYL DEAN GODFREY, did knowingly execute, or attempt to

   execute, a scheme or artifice to defraud VICTIM BANK 1, a federally insured financial

   institution, or to obtain any of the moneys, funds, credits, assets, securities, or other property

   owned by, or under the custody of, VICTIM BANK I by false or fraudulent pretenses,

   representations, or promises with the intent to defraud in violation of 18 U.S.C. §§ 1344(1)

   & 1344(2). Accordingly, I respectfully request that a criminal complaint be issued, along

   with an arrest warrant for DARRYL DEAN GODFREY




                                                   Respectfully Submitted,
                                                                    Digitally signed by
                                                       TONY         TONY BRADLEY
                                                                    Date: 2024.11.06
                                                       BRADLEY      15:09:21 -OS’OO'


                                                   Tony T. Bradley
                                                   Special Agent
                                                   U.S. Department of Veterans Affairs
                                                   Office of Inspector General - CID



   Subscribed and attested to, in accordance with Rule 4.1(b)(2)(A), on November 6, 2024.




   THE HONORABLE ROBERT J. KRASK
   UNITED STATES MAGISTRATE JUDGE




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